       Case 2:11-cr-00334-APG-GWF          Document 74       Filed 06/17/13     Page 1 of 1



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 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )              Case No. 2:11-cr-00334-MMD-GWF
                                               )
 9   vs.                                       )              ORDER
                                               )
10   TRACEY BROWN,                             )
                                               )
11                     Defendant.              )
     __________________________________________)
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13          This matter comes before this Court on Defendant’s Motion to Suppress (#54) and Motion
14   to Sever (#55). A motion hearing was conducted on March 8, 2013 wherein counsel for Defendant
15   advised the Court there was a tentative plea agreement with Defendant Brown. The Court vacated
16   the motion hearing. Accordingly,
17          IT IS ORDERED that counsel will provide a status report to the Court no later than June
18   27, 2013.
19          DATED this 17th day of June, 2013.
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21                                               ______________________________________
                                                 GEORGE FOLEY, JR.
22                                               United States Magistrate Judge
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